                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WILLIAM C. DOUGHERTY and                         )
ANARGYROS KEREAKES, individually                 )
and on behalf of other similarly situated        )
members of the Chicago Police Department,        )
                                                 )
                     Plaintiffs,                 )       No. 15 CV 10975
                                                 )
               vs.                               )       Judge Charles P. Kocoras
                                                 )
CITY OF CHICAGO, an Illinois Municipal           )
Corporation,                                     )
                                                 )
                     Defendant.                  )

                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       NOW COME Plaintiffs, by and through their attorneys, the Law Offices of Paul D.

Geiger, and for their Motion for Summary Judgment, state as follows:

       1.      Plaintiffs have pending before this court a Fourth Amended Complaint consisting

of three counts. Count I claims violations of the FLSA, Count II claims violations of the Illinois

Wage Payment and Collection Act (IWPCA), while Count III alleges violations of the Illinois

Minimum Wage Law.

       2.      Plaintiffs seek summary judgment on all the issue of liability for all three counts

of the Fourth Amended Complaint.

       WHEREFORE, the Plaintiffs respectfully request that this Honorable Court enter an

order granting their Motion for Summary Judgment on all counts and setting a schedule for

additional discovery to be conducted on the issue of damages.

                                                     Respectfully Submitted,


                                                     s/Paul D. Geiger
                                    PAUL D. GEIGER




Law Offices of Paul D. Geiger
540 W. Frontage Road
Suite 3020
Northfield, Illinois 60093
(773) 410-0841




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